74 F.3d 1232NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Donovan R. MURRAY, Petitioner-Appellant,v.COMMISSIONER OF THE INTERNAL REVENUE SERVICE, Respondent-Appellee.
    No. 95-2402.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  January 11, 1996.Decided:  January 23, 1996.
    
      Donovan R. Murray, Appellant Pro Se.  Gary R. Allen, William Sears Estabrook, III, Paula Keyser Speck, United States Department of Justice, Washington, DC, for Appellee.
      Before RUSSELL, HALL, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the tax court's order upholding the Commissioner's assessment of deficiencies and penalties with respect to his 1990, 1991, and 1993 federal income tax liabilities.  We have reviewed the record and the tax court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the tax court.  Murray v. Commissioner, Tax Ct. No. 2589-95 (U.S. Tax Ct., June 15, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    